                                IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                         ASHEVILLE DIVISION
                                 CRIMINAL CASE NO. 1:07-cr-33-MR-DLH

               UNITED STATES OF AMERICA         )
                                                )
                             vs.                )                    ORDER
                                                )
               TERRANCE BRADLEY THOMPSON )
               ________________________________ )


                         THIS MATTER is before the Court on the Defendant’s Motion for

               Reduction of Sentence filed pursuant to 18 U.S.C. § 3582(c)(2) and U.S.S.G.

               § 1B1.10(c), Amend. 780 (Nov. 1, 2014). [Doc. 531].

                         The Probation Office has submitted a supplement to the Defendant’s

               Presentence Report indicating that he may be entitled to immediate release.

               [Doc. 533]. Based thereon, the Court determines that the United States

               Attorney should file a response to the Defendant’s Motion.

                         IT IS, THEREFORE, ORDERED that no later than seven (7) days from

               the entry of this Order, the United States Attorney shall file a pleading

               responsive to Defendant’s Motion for Reduction of Sentence.

                         IT IS SO ORDERED.

Signed: April 28, 2015




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